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 7

 8                       UNITED STATES BANKRUPTCY COURT
 9                        EASTERN DISTRICT OF WASHINGTON
10   In re                                                          Chapter 11
11   EASTERDAY RANCHES, INC., et al.                                Lead Case No. 21-00141
                                                                    Jointly Administered
12
                          Debtors1.
13

14   EASTERDAY RANCHES, INC. and                                    Adv. Pro No. 21-80050 (WLH)
     EASTERDAY FARMS,
15                                                                  KAREN L. EASTERDAY’S
                          Plaintiffs,                               ANSWER, AFFIRMATIVE
16                                                                  DEFENSES, AND
             v.                                                     COUNTERCLAIMS TO
17                                                                  COMPLAINT (I) TO
     ESTATE OF GALE A. EASTERDAY                                    DETERMINE VALIDITY,
18   (DECEASED), KAREN L. EASTERDAY,                                PRIORITY, OR EXTENT OF
     CODY A. EASTERDAY, and DEBBY                                   INTERESTS IN PROPERTY;
19   EASTERDAY,                                                     AND (II) FOR
                                                                    DECLARATORY JUDGMENT
20                        Defendants.
21

22           For her answer to the Complaint (I) to Determine Validity, Priority, or
23   Extent of Interests in Property and (II) For Declaratory Judgement (the
24   “Complaint), Karen L. Easterday (“Mrs. Easterday”), individually and as personal
25

26   1 This case is jointly administered with In re Easterday Farms, Case No. 21-00176-WLH11.
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 1
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 1   representative of the probate estate of Gale A. Easterday, hereby admits, denies,
 2   and alleges as follows in response to the like- numbered paragraphs of the
 3   Complaint:
 4          1.     As to the first sentence, Mrs. Easterday admits the Complaint seeks a
 5   determination regarding the ownership of certain unspecified real property
 6   (“Disputed Property”) that was sold in Debtors’ Bankruptcy Case. Mrs. Easterday
 7   admits that the “Disputed Property” was only part of a larger package of assets
 8   sold pursuant to an order of the court (the “Sale Properties”). Mrs. Easterday
 9   denies the remainder of the first sentence because the Easterday Family personally
10   owned certain of the Sale Properties prior to the Sale.2 As to the second sentence,
11   Mrs. Easterday admits that the Sale Properties were recently sold pursuant to an
12   order of this court but denies the remainder of the sentence. Mrs. Easterday denies
13   the third sentence.
14          2.     Mrs. Easterday denies the first sentence but admits that the Sale
15   Properties were titled in various ways. Mrs. Easterday denies the second sentence.
16          3.     As to the first sentence, Mrs. Easterday denies that the proceeds of the
17   Sale Properties belong solely to Debtors’ Estates. As to the second sentence, there
18   is no allegation to which a response is required but Mrs. Easterday clarifies that, to
19   the extent the Court enters a declaratory judgment, it must allocate the proceeds of
20   the Sale Properties not only between Debtors’ Estates and the Easterday Family,
21   but among Easterday Ranches, Inc. (“Debtor Ranches”), Easterday Farms (“Debtor
22   Farms”), and the Easterday Family.
23          4.     Admit.
24          5.     Admit.
25

26   2 Capitalized terms not defined herein have the meaning set out in the Complaint.
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 2
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 1         6.     Admit.
 2         7.     Pursuant to Bankruptcy Rule 7008, Mrs. Easterday consents to entry
 3   of final orders or judgment by this court.
 4         8.     Admit.
 5         9.     Admit.
 6         10.    Admit.
 7         11.    Admit.
 8         12.    Admit.
 9         13.    Admit.
10         14.    Mrs. Easterday admits the first sentence but clarifies that the real
11   property referenced in the first sentence has nothing to do with the Sale Properties.
12   As to the second sentence, Mrs. Easterday admits that as of the Debtors’
13   bankruptcy filings, the Debtors operated commercial farming and cattle feeding
14   operations, but denies the remainder of the second sentence.
15         15.    Mrs. Easterday denies the allegations in paragraph 15 because
16   members of the Easterday Family indeed owned, in their individual capacities,
17   some or all of the Sale Properties, including the real properties commonly known
18   as Cox Farm, River Farm, and Goose Gap Farm.
19         16.    Mrs. Easterday admits that Debtors appear to dispute the Easterday
20   Family’s ownership interests in the Sale Properties but Mrs. Easterday restates that
21   members of the Easterday Family indeed owned, in their individual capacities,
22   some or all of the Sale Properties.
23         17.    Mrs. Easterday denies paragraph 17 because it is imprecise such that
24   she cannot admit or deny it.
25         18.    Mrs. Easterday admits the first sentence but denies the remainder of
26   paragraph 18 because the Partnership Agreement speaks for itself.
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
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 1             19.   Mrs. Easterday denies paragraph 19 because it is imprecise such that
 2   she cannot admit or deny it.
 3             20.   Deny.
 4             21.   Deny.
 5             22.   Mrs. Easterday admits that she is a party to the Stipulation By and
 6   Between Debtors and Non-Debtor Sellers Regarding Cooperation With Respect to
 7   the Sale of Debtor and Non-Debtor Assets (“Cooperation Agreement”) but denies
 8   the remainder of paragraph 22 because the Cooperation Agreement speaks for
 9   itself.
10             23.   Mrs. Easterday admits paragraph 23 except denies that the Sale was
11   for $209 million.
12             24.   Mrs. Easterday incorporates by reference her responses to paragraphs
13   1-23.
14             25.   Deny.
15             26.   Mrs. Easterday denies the first sentence but admits that the Sale
16   Properties were titled in various ways. Mrs. Easterday denies the second sentence.
17             27.   Deny.
18             28.   Mrs. Easterday incorporates by reference her responses to paragraphs
19   1-27.
20             29.   Mrs. Easterday denies the allegations in paragraph 29 because some
21   or all of the Sale Properties were indeed owned by the Easterday Family prior to
22   the Sale such that some or all of the proceeds belong to the Easterday Family.
23             30.   Deny.
24             31.   The allegations in paragraph 31 are legal conclusions to which no
25   response is required. To the extent a response is required, Mrs. Easterday denies
26   the allegations in paragraph 31.
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
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 1         32.    The allegations in paragraph 32 are legal conclusions to which no
 2   response is required. To the extent a response is required, Mrs. Easterday denies
 3   the allegations in paragraph 32.
 4                               AFFIRMATIVE DEFENSES
 5                Without assuming the burden of proof as to any matter on which
 6   Plaintiffs bear such burden, and without waiving any of the answers set forth
 7   above, Mrs. Easterday asserts the following affirmative defenses.
 8                                First Affirmative Defense
 9                                    (Failure to State a Claim)
10         Debtors’ Complaint, and each purported cause of action asserted therein,
11   fails to state a claim because (i) Debtors fail to clearly identify what property is
12   included in the “Disputed Property” and (ii) Debtors have not performed pursuant
13   to the Cooperation Agreement. Their failures cannot create a justiciable issue
14   subject to the declaratory judgment process.
15                               Second Affirmative Defense
16                                     (Waiver and Estoppel)
17         Debtors’ Complaint, and each purported cause of action asserted therein, is
18   barred in whole or in part by the doctrines of waiver and estoppel because Debtors
19   failed to perform pursuant to the Cooperation Agreement.
20                                Third Affirmative Defense
21                                      (Judicial Admission)
22         Debtors previously admitted to the Court that Mrs. Easterday is an interest
23   holder in the Sale Properties.
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KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 5
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 1                               Fourth Affirmative Defense
 2                                   (Condition Precedent)
 3         Debtors’ Complaint is barred by a failure of the occurrence of a condition
 4   precedent to the relief sought, in that the parties have not yet negotiated in good
 5   faith to reach agreement on a protocol for resolving disputes concerning the
 6   allocation of proceeds.
 7                                Fifth Affirmative Defense
 8                                      (Unclean Hands)
 9         Debtors’ Complaint, and each purported cause of action asserted therein, is
10   barred in whole or in part by the clean hands doctrine.
11                                   COUNTERCLAIMS
12                                   Common Allegations
13         1.     These counterclaims seek a determination regarding the interests of
14   Debtor Ranches, Debtor Farms, and the Easterday Family in (i) all of the Sale
15   Properties (and not just the real property alluded to by Debtors as “Disputed
16   Property”), (ii) water rights appurtenant to the Sale Properties, and (iii) irrigation
17   improvements on the Sale Properties.
18         2.     In connection with the Sale of the Sale Properties, the parties entered
19   into the Cooperation Agreement, which Cooperation Agreement was approved by
20   the court on April 27, 2021 [Doc. 640.]
21         3.     Pursuant to section 4 of the Cooperation Agreement, “The Parties
22   shall, as soon as reasonably practicable following execution of this Stipulation,
23   negotiate in good faith and attempt to reach agreement on a timely basis on a
24   protocol for resolving disputes concerning the allocation of Net Sale Proceeds from
25   Sale Transactions (the “Allocation Protocol”), which Allocation Protocol shall
26   provide procedures for determining allocation of Net Sales Proceeds where the
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 6
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 1   Selling Parties in such Sale Transaction have been unable to reach agreement
 2   regarding such allocation with any allocation determination being subject to
 3   approval by the Bankruptcy Court.”
 4         4.     The Sale of the Sale Properties closed on or about July 30, 2021.
 5   Farmland Reserve, Inc. purchased the Sale Properties.
 6         5.     The purchase and sale agreement for the Sale Properties specifically
 7   requires that all water rights be transferred to Farmland Reserve, Inc. The
 8   purchase price includes value for the real property, the water rights appurtenant to
 9   the real property, and the irrigation improvements on the real property.
10         6.     Some or all of Debtor Ranches, Debtor Farms, and the Easterday
11   Family owned the Sale Properties.
12         7.     Some or all of Debtor Ranches, Debtor Farms, and the Easterday
13   Family owned the water rights appurtenant to the Sale Properties.
14         8.     Some or all of Debtor Ranches, Debtor Farms, and the Easterday
15   Family owned the irrigation improvements on the Sale Properties.
16                               FIRST COUNTERCLAIM
17                                 (Specific Performance)
18         9.     Mrs. Easterday realleges and incorporates the allegations in the
19   paragraphs above as though fully set forth herein.
20         10.    The parties entered into the Cooperation Agreement.
21         11.    Section 4 of the Cooperation Agreement provides: “The Parties shall,
22   as soon as reasonably practicable following execution of this Stipulation, negotiate
23   in good faith and attempt to reach agreement on a timely basis on a protocol for
24   resolving disputes concerning the allocation of Net Sale Proceeds from Sale
25   Transactions (the “Allocation Protocol”), which Allocation Protocol shall provide
26   procedures for determining allocation of Net Sales Proceeds where the Selling
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
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 1   Parties in such Sale Transaction have been unable to reach agreement regarding
 2   such allocation with any allocation determination being subject to approval by the
 3   Bankruptcy Court.”
 4         12.    Mrs. Easterday has done all, or substantially all, of the significant
 5   things that the Cooperation Agreement required her to do to date or she was
 6   excused from having to do those things.
 7         13.    Mrs. Easterday is ready, willing, and able to take further actions
 8   reasonably necessary to comply with the Cooperation Agreement, including
 9   negotiating in good faith and attempting to reach agreement on a protocol for
10   resolving disputes concerning the allocation of Net Sale Proceeds from Sale
11   Transactions.
12         14.    Debtors, by and through their agents, breached the Cooperation
13   Agreement by failing to negotiate in good faith to reach agreement on a protocol
14   for resolving disputes concerning the allocation of Net Sale Proceeds from Sale
15   Transactions and, instead, filing the underlying adversary proceeding.
16         15.    As a result of Debtors’ failure and refusal to comply with the
17   Cooperation Agreement, they are in continuing breach of the Cooperation
18   Agreement.
19         16.    Mrs. Easterday’s legal remedies are inadequate and she therefore
20   seeks a judicial decree directing Debtors to comply with the Cooperation
21   Agreement by negotiating in good faith and attempting to reach agreement with the
22   Easterday Family on a protocol for resolving disputes concerning the allocation of
23   Net Sale Proceeds from Sale Transactions.
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KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 8
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 1                                SECOND COUNTERCLAIM
 2                 (Declaratory Judgment as to Real Property Ownership)
 3         17.     Mrs. Easterday realleges and incorporates the allegations in the
 4   paragraphs above as though fully set forth herein.
 5         18.     Pursuant to 28 U.S.C. § 2201, “[i]n a case of actual controversy within
 6   its jurisdiction * * * any court of the United States, upon the filing of an
 7   appropriate pleading, may declare the rights and other legal relations of any
 8   interested party seeking such declaration, whether or not further relief is or could
 9   be sought.”
10         19.     Upon information and belief, Debtor Ranches, Debtor Farms, and the
11   Easterday Family (including Mrs. Easterday) claim an ownership interest in some
12   of or all of the same real property.
13         20.     This case presents an actual and justiciable controversy among Debtor
14   Ranches, Debtor Farms, and the Easterday Family (including Mrs. Easterday).
15         21.     By this Counterclaim, Mrs. Easterday seeks a judicial determination
16   and declaratory judgment as to specifically who among Debtor Ranches, Debtor
17   Farms, and the Easterday Family owned the Sale Properties.
18         22.     This controversy is justiciable because it requires a legal
19   determination of which entity or individuals owned the real property that was sold
20   to generate the Sale proceeds.
21         23.     Debtor Ranches, Debtor Farms, and the Easterday Family (including
22   Mrs. Easterday) all have a stake in the outcome of this dispute, which, once
23   resolved, will have a direct and immediate effect on the parties and allocation of
24   the Net Sale Proceeds.
25         24.     A judicial determination resolving this actual controversy is necessary
26   and appropriate at this time.
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 9
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 1                               THIRD COUNTERCLAIM
 2                       (Declaratory Judgment as to Water Rights)
 3           25.   Mrs. Easterday realleges and incorporates the allegations in the
 4   paragraphs above as though fully set forth herein.
 5           26.   Upon information and belief, Debtor Ranches, Debtor Farms, and the
 6   Easterday Family (including Mrs. Easterday) claim an ownership interest in some
 7   of or all of the same water rights.
 8           27.   This case presents an actual and justiciable controversy among Debtor
 9   Ranches, Debtor Farms, and the Easterday Family (including Mrs. Easterday).
10           28.   By this Counterclaim, Mrs. Easterday seeks a judicial determination
11   and declaratory judgment as to specifically who among Debtor Ranches, Debtor
12   Farms, and the Easterday Family owned the water rights appurtenant to the Sale
13   Properties.
14           29.   Ownership of water rights may not be co-extensive with ownership of
15   land.
16           30.   This controversy is justiciable because it requires a legal
17   determination of which entity or individuals owned the water rights that were sold
18   to generate some of the Sale proceeds.
19           31.   Debtor Ranches, Debtor Farms, and the Easterday Family (including
20   Mrs. Easterday) all have a stake in the outcome of this dispute, which, once
21   resolved, will have a direct and immediate effect on the parties and allocation of
22   Net Sale Proceeds.
23           32.   A judicial determination resolving this actual controversy is necessary
24   and appropriate at this time.
25

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KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 10
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 1                               FOURTH COUNTERCLAIM
 2                 (Declaratory Judgment as to Irrigation Improvements)
 3         33.     Mrs. Easterday realleges and incorporates the allegations in the
 4   paragraphs above as though fully set forth herein.
 5         34.     Upon information and belief, Debtor Ranches, Debtor Farms, and the
 6   Easterday Family (including Mrs. Easterday) claim an ownership interest to some
 7   of or all of the same irrigation improvements that were sold with the real property.
 8         35.     This case presents an actual and justiciable controversy among Debtor
 9   Ranches, Debtor Farms, and the Easterday Family (including Mrs. Easterday).
10         36.     By this Counterclaim, Mrs. Easterday seeks a judicial determination
11   and declaratory judgment as to specifically who among Debtor Ranches, Debtor
12   Farms, and the Easterday Family owned the irrigation improvements on the Sale
13   Properties.
14         37.     This controversy is justiciable because it requires a legal
15   determination of which entity or individuals owned the irrigation improvements
16   that were sold to generate the Sale proceeds.
17         38.     Debtor Ranches, Debtor Farms, and the Easterday Family (including
18   Mrs. Easterday) all have a stake in the outcome of this dispute, which, once
19   resolved, will have a direct and immediate effect on the parties and allocation of
20   Net Sale Proceeds.
21         39.     A judicial determination resolving this actual controversy is necessary
22   and appropriate at this time.
23         WHEREFORE, Mrs. Easterday requests that judgment be entered in her
24   favor and against Debtors as follows:
25         (a)     judgment in favor of Mrs. Easterday requiring and directing Debtors
26   to comply with the Cooperation Agreement by negotiating in good faith and
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
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 1   attempting to reach agreement with the Easterday Family on a protocol for
 2   resolving disputes concerning the allocation of Net Sale Proceeds from Sale
 3   Transactions.
 4         (b)   declaratory judgment as to ownership of the Sale Properties as among
 5   Debtor Ranches, Debtor Farms, and the Easterday Family, including
 6   Mrs. Easterday;
 7         (c)   determination of how much of the Sale proceeds are attributed to the
 8   Sale Properties and belong to each of Debtor Ranches, Debtor Farms, and the
 9   Easterday Family, including Mrs. Easterday;
10         (d)   declaratory judgment as to ownership of the water rights appurtenant
11   to the Sale Properties as among Debtor Ranches, Debtor Farms, and the Easterday
12   Family, including Mrs. Easterday;
13         (e)   determination of how much of the Sale proceeds are attributed to the
14   water rights appurtenant to the Sale Properties and belong to each of Debtor
15   Ranches, Debtor Farms, and the Easterday Family, including Mrs. Easterday;
16         (f)   declaratory judgment as to ownership of the irrigation improvements
17   on the Sale Properties as among Debtor Ranches, Debtor Farms, and the Easterday
18   Family, including Mrs. Easterday;
19         (g)   determination of how much of the Sale proceeds are attributed to the
20   irrigation improvements on the Sale Properties and belong to each of Debtor
21   Ranches, Debtor Farms, and the Easterday Family, including Mrs. Easterday; and
22   ***
23   ***
24   ***
25   ***
26   ***
KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
PROPERTY; AND (II) FOR DECLARATORY JUDGMENT - 12
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 1          (h)    all such other and further relief as this court deems just and equitable.
 2          Dated: November 17, 2021.
 3                                              TONKON TORP LLP
 4

 5                                              By /s/ Timothy J. Conway
                                                  Timothy J. Conway, WSBA 52204
 6                                                Attorneys for Karen Easterday
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KAREN L. EASTERDAY’S ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
TO COMPLAINT (I) TO DETERMINE VALIDITY, PRIORITY, OR EXTENT OF INTERESTS IN
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